                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE:                                              )   CASE NO.: 21-11409
                                                    )
RENE LIVEST,                                        )   ADVERSARY PROCEEDING NO. 21-1039
                                                    )
                DEBTOR,                             )   CHAPTER 7
                                                    )
                                                    )   JUDGE JESSICA PRICE SMITH
                                                    )
RENE LIVEST,                                        )
                                                    )   ANSWER OF THE UNITED STATES OF
                PLAINTIFF,                          )   AMERICA, ON BEHALF OF THE U.S.
                                                    )   DEPARTMENT OF EDUCATION
         V.                                         )
                                                    )
UNITED STATES DEPARTMENT OF                         )
EDUCATION, ET AL.,                                  )
                                                    )
                DEFENDANTS.                         )


         NOW COMES the Defendant, the United States of America, on behalf of its agency, the

U.S. Department of Education (“Education” or “Defendant”), by and through its attorney,

Michelle M. Baeppler, Acting United States Attorney for the Northern District of Ohio, through

Renée A. Bacchus, Assistant U.S. Attorney, and for its answer to the Complaint (the

“Complaint”) (Doc. No. 1) filed by Debtor/Plaintiff Rene LiVest states as follows:

                1.      Education is without sufficient knowledge or information to admits or

deny the allegations contained in paragraph 1 of Plaintiff’s Complaint, and for purposes of

demanding strict proof, denies same.

                2.      Education denies the allegations contained in paragraph 2 of Plaintiff’s

Complaint. Further, Education states that “Education Department” is not a governmental entity.




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              3.      Education admits the allegations contained in paragraph 3 of Plaintiff’s

 Complaint.

              4.      Paragraph four of the Complaint is a jurisdictional statement to which no

 response is required. To the extent that a response is required, Defendant admits paragraph

 four.

              5.      Paragraph five of the Complaint is a jurisdictional statement to which no

 response is required. To the extent that a response is required, Defendant admits paragraph

 five.

              6.      Paragraph six of the Complaint is a jurisdictional statement to which no

 response is required. To the extent that a response is required, Defendant admits paragraph six.

              7.      Education is without sufficient knowledge or information to admit or deny

 the allegations set forth in paragraph 7 of Plaintiff’s Complaint and for purposes of demanding

 strict proof, denies same.

              8.      Education is without sufficient knowledge or information to admit or deny

 the allegations set forth in paragraph eight of Plaintiff’s Complaint, and for purposes of

 demanding strict proof, denies same.

              9.      Education states that the allegations in paragraph nine are plaintiff’s

 interpretation of the evolution of bankruptcy case law to which no response is required. To the

 extent that a response is required, Education denies same.

              10.     Education states that the allegations in paragraph ten are plaintiff’s

 interpretation of the evolution of bankruptcy case law to which no response is required. To the

 extent that a response is required, Education denies same.




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               11.    Education states that the allegations in paragraph eleven are plaintiff’s

 interpretation of the evolution of bankruptcy case law to which no response is required. To the

 extent that a response is required, Education denies same. In responding to the factual

 allegations set forth in paragraph eleven regarding Plaintiff’s circumstances, Education lacks

 sufficient knowledge or information to form a belief as to the truth of the allegations and for

 purposes of demanding strict proof denies same.

               12.    Education admits only that Plaintiff incurred student loan debt in

 furtherance of pursuing higher education and lacks knowledge or information sufficient to

 form a belief as to the truth of the remaining allegations in paragraph 12 of the Complaint, and

 therefore, denies same.

               13.    Education lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in paragraph 13 of the Complaint, and therefore, denies same.

               14.    Education denies the allegations set forth in paragraph 14 of the

 Complaint. Education further states that Plaintiff’s current student loan balance is unpaid

 principal in the amount of $75,360.12, and $5,772.05 in accrued interest for a total amount of

 $81,249.17.

               15.    Education denies the allegations set forth in paragraph 15 of the

 Complaint. Education further states that prior to the implementation of the CARES Act and its

 extension which suspended student loan payments until May 1, 2022, Plaintiff recertified for

 Pay As You Earn (PAYE). Under PAYE Plaintiff’s monthly payment was calculated as $0.

 That payment schedule was set to begin May 3, 2020.




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                 16.   Education denies the allegations set forth in paragraph 16 of the

 Complaint. As stated in paragraph 15, under the PAYE Program, Plaintiff was not required to

 make monthly payments.

                 17.   Education denies the allegations set forth in paragraph seventeen of the

 Complaint.

                 17 (2nd). Education incorporates its answers set forth in paragraphs one

 through 17 as if fully rewritten herein.

                 18.   Education denies the allegations set forth in paragraph 18 of the

 Complaint.

                 19.   Education denies the allegations set forth in paragraph 19 of the

 Complaint.

                 20.   The allegations set forth in paragraph 20 is Plaintiff’s prayer for relief.

 Education denies Plaintiff is entitled to any relief.

                 21.   Education denies any allegation not specifically admitted or denied.

                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

     Plaintiff has failed to state a claim upon which relief may be granted.

                              SECOND AFFIRMATIVE DEFENSE

      Education reserves the right to assert additional and/or different defenses as the action

progresses.

       Education consents to entry of final orders or judgment by the Bankruptcy Court. Fed. R.

Bankr. P. 7012(b).




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       WHEREFORE the United States, on behalf of Education, prays that the Plaintiff’s

student loan liabilities be held non-dischargeable.

                                                      Respectfully submitted,

                                                      MICHELLE M. BAEPPLER
                                                      Acting United States Attorney


                                               By:    /s/ Renée A. Bacchus
                                                       Renée A. Bacchus (0063676)
                                                       Assistant United States Attorney
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                                  CERTIFICATE OF SERVICE

I hereby certify that, on February 22, 2022, a true and correct copy of the foregoing ANSWER
OF THE UNITED STATES OF AMERICA, ON BEHALF OF THE U.S. DEPARTMENT OF
EDUCATION, TO PLAINTIFF’S COMPLAINT was served:

Via the court’s Electronic Case Filing System on the U.S. Trustee and these entities and
individuals who are listed on the court’s Electronic Mail Notice List:

Michael Shaut, on behalf of Plaintiff Rene LiVest, at mikes@shautlaw.com
Renee Bacchus on behalf of Defendant U.S. Department of Education at
renee.bacchus@usdoj.gov

I further certify that, on February 22, 2022 or on the next business day thereafter, a copy of the
foregoing ANSWER OF THE UNITED STATES OF AMERICA, ON BEHALF OF THE U.S.
DEPARTMENT OF EDUCATION, TO PLAINTIFF’S COMPLAINT was served by regular U.S.
mail, postage prepaid, on:

None

                                                       By:     /s/ Renée A. Bacchus
                                                               Renée A. Bacchus (0063676)
                                                               Assistant United States Attorney




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